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 1   DAVID A. TORRES AND ASSOCIATES
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 5   Attorney for:
     ASHLEY WILLIAMS
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                        ) Case No.: 16-CR-0049 LJO-SJO
10   UNITED STATES OF AMERICA,                          )
                                                        )
11                   Plaintiff,                         ) DEFENDANTS REQUEST AND WAIVER
                                                        ) OF APPEARANCE
12           vs.                                        )
                                                        )
13   ASHLEY WILLIAMS,                                   )
                                                        )
14                   Defendant                          )
15           Defendant, ASHLEY WILLIAMS, hereby waives her appearance in person in open court
16   upon the status conference set for June 5, 2017 at 1:00 p.m. in Courtroom 7 of the above entitle
17   court. Defendant hereby requests the court to proceed in her absence and agrees that her interest
18   will be deemed represented at said hearing by the presence of his/her attorney, DAVID A.
19   TORRES. Defendant further agrees to be present in person in court at all future hearing dates set
20   by the court including the dates for jury trial.
21

22   Date: 6/1/17                                                /s/Ashley Williams_____ ___
23
                                                                 ASHLEY WILLIAMS
     Date: 6/1/17                                                /s/David A. Torres _____ ___
24
                                                                 DAVID A. TORRES
25                                                               Attorney for Defendant




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 1                                             ORDER

 2            Defendant ASHLEY WILLIAMS is excused from appearing at the status conference set

 3   for June 5, 2017.

 4
     IT IS SO ORDERED.
 5

 6   Dated:     June 1, 2017                                 /s/   Sheila K. Oberto         .
                                                    UNITED STATES MAGISTRATE JUDGE
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                                      Summary of Pleading - 2
